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                      DISTRICT COURT OF THE VIRGIN ISLANDS
                              DIVISION OF ST. CROIX

UNITED STATES OF AMERICA and                         )
PEOPLE OF THE VIRGIN ISLANDS,                        )
                                                     )
               v.                                    )
                                                     )     Criminal Action No. 2013-0003
ELVIN WRENSFORD and                                  )
CRAIG MULLER,                                        )
                                                     )
                      Defendants.                    )
__________________________________________)
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                                 MEMORANDUM OPINION

Lewis, Chief Judge

       THIS MATTER is before the Court on Defendant Elvin Wrensford’s Motion to Suppress

“all incriminating evidence collected in this matter”—including evidence seized from his person

(a knife, keys, wallet, and insurance card), an “alleged statement he made to law enforcement,” a

DNA buccal swab, and identifications of him made by eyewitnesses—as violative of the Fourth

and Fifth Amendments to the United States Constitution. (Dkt. No. 53 at 1). Co-Defendant Craig

Muller joined in the Motion to Suppress. (Dkt. No. 66). The Court held evidentiary hearings on

January 17, 2014 and June 26, 2014.
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        For the reasons discussed below, the Court will grant in part and deny in part Defendant’s

Motion. Specifically, the Court will suppress the keys, wallet and insurance card, and will not

suppress the knife, statements, DNA buccal swab, and witness identifications.

                                    I.    BACKGROUND 1

        On January 29, 2013, Defendant Elvin Wrensford (“Wrensford”) was indicted in the

District Court of the Virgin Islands on the following charges: Possession of a Firearm in a School

Zone, in violation of 18 U.S.C. § 922(q)(2)(A); Possession of a Firearm with Obliterated Serial

Number, in violation of 18 U.S.C. §§ 922(k) and 924(a)(1)(B); Using a Firearm during a Violent

Crime, in violation of 18 U.S.C. § 924(c)(1)(A)(iii); Unauthorized Possession of a Firearm, in

violation of 14 V.I.C. § 2253(a); and Murder in the First Degree, in violation of 14 V.I.C. §

922(a)(1) and 923(a). (Dkt. No. 1). On November 22, 2013, Wrensford filed the instant Motion

to Suppress. (Dkt. No. 53). Co-Defendant Craig Muller filed a Notice of Joinder in Wrensford’s

Suppression Motion on December 16, 2013. (Dkt. No. 66). The Government filed its Opposition

on December 30, 2013 (Dkt. No. 71), and Wrensford filed a Reply on January 7, 2014. (Dkt. No.

72). The initial suppression hearing was held on January 17, 2014. Pursuant to this Court’s Order

(Dkt. No. 78), the parties filed supplemental briefing in late January and early February, 2014.

(Dkt. Nos. 81, 85, 89).

        In Wrensford’s Post-Hearing Memorandum, he raised the argument for the first time that

his identification by two witnesses on the evening of the shooting was “unnecessarily

suggestive.” (Dkt. No. 81 at 3). The Government disputed that characterization and requested an

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  The Court bases the background factual discussion in this section on the record established at
the suppression hearings. The Court provides this information solely for the purposes of this
pretrial motion, ever mindful that Defendant Wrensford is presumed innocent until proven guilty.
Most of the facts discussed herein are alleged, but at this stage not conceded or proven beyond a
reasonable doubt to the factfinder.

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opportunity to present evidence on the issue. (Dkt. No. 85 at 6). The Court held a reconvened

suppression hearing on June 26, 2014 to take testimony on the identification issue. Based on the

briefing by the parties, and the evidence and arguments presented at both hearings, the Court

now renders its ruling.

           A. January 17, 2014 Suppression Hearing

       At the January 17, 2014 suppression hearing, four witnesses testified—former Virgin

Islands Police Department (“VIPD”) Officer Julio Mendez, Officer Leon Cruz, Sergeant Richard

Matthews, and Corporal Luis Encarnacion.

       Officer Mendez testified that, on the evening of May 10, 2012, he heard a call on his car

radio from 911 emergency dispatch that shots had been fired in the vicinity of Food Town

Supermarket in Christiansted, St. Croix, U.S. Virgin Islands. He was in Estate La Grande

Princesse at the time and drove immediately to Food Town. On his way there, he heard a radio

report at 8:08 p.m. that there was a possible gunshot victim across the street from Food Town.

Transcript of 1/17/14 Suppression Hearing (“Tr.”) at 235-36 (Dkt. No. 106); 911 Call History,

Gov’t Ex. 12.

       Mendez was the first VIPD officer to arrive on the crime scene, and he observed St.

Croix Rescue treating a person with a head injury. Tr. 236-38, 265. He heard witnesses at the

scene saying that, after the shots were fired, a red truck left the area traveling north toward La

Grande Princesse at a high rate of speed. Tr. 239. After a sufficient number of officers had

arrived to preserve the crime scene, Mendez drove his marked Chevy Tahoe cruiser into the

Princesse area in an effort to find the red truck. While he was driving on the road that leads to the

St. C Condominiums, he saw two males walking on the road in his direction, about 100 feet




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ahead of him. Tr. 240-242. His vehicle’s spotlight and headlights were on, but not the flashing

blue lights. Tr. 268.

        Mendez stopped his car about eight to ten feet in front of the two men, and they stopped

walking. He opened the door of his cruiser, and stood on the side step. Tr. 243. His lights were

trained on them, and a light pole was “right there” as well. Tr. 242, 245. He described one of the

individuals as wearing his hair in dreadlocks, “clear complexion 2” wearing a white shirt and blue

and white knee-length pants. The person “had what appeared to be like bush, or a green leafy

substance on his dreadlocks and on his shirt.” Tr. 243-44. The other individual was a “black

male, he also had dreadlocks. He had on a white shirt, and a black short knee-length pants.” Tr.

244. Mendez observed that the two men were “sweating profusely,” which he found “unusual,”

“out of the norm,” and “really bad” in that their shirts were all wet. Tr. 245-46.

        Mendez asked the men where they were coming from. They did not answer immediately;

instead, they looked at each other and looked around the area. This behavior raised Mendez’s

suspicions, and he called for back-up. Tr. 246, 270. Mendez asked them to place their hands on

his vehicle, and repeated his command several times before they complied. Tr. 247. The person

with the “darker skin” said they came from the basketball court. Tr. 248. As Mendez began to

step down from his cruiser, both men took off running. The darker-skinned male ran into the

bushes heading north toward Judith’s Fancy, while the lighter-skinned male ran west, and made a

left turn heading towards One Love Gas Station. Tr. 249-50.

         At 8:45 p.m., Mendez radioed a description of the two males—described in the call

history as “two black males slim buil[d]” and “both rasta males”—and the directions they were


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  Officer Cruz used the term “clear” to denote a fair-skinned black person—one who did not
have a “dark complexion.” Tr. 129.
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running. Tr. 271; Ex. 12. Shortly thereafter, another officer arrived with Mendez’s police dog.

They searched the bushes where the darker-skinned man had run, but could not find him.

Mendez then drove to a nearby area—the vacant Nicasio Nico Housing Project—which was

known as a place where people abandoned stolen vehicles. Mendez hoped that he would be able

to find the vehicle allegedly used in the crime—a red or maroon pick-up truck. Tr. 251-52. At

9:07 p.m., he found a truck of that description partially hidden in some bushes, approximately

one-quarter mile from where he first saw the men walking. Tr. 252, 257; Ex. 12. Mendez

identified both Defendants in the Courtroom as the individuals he had stopped on the evening of

May 10, 2012 on the road to the St. C Condos. Tr. 258-60.

       Officer Leon Cruz, an eleven-year veteran of the VIPD assigned to the Criminal

Investigation Bureau, testified that on the evening of May 10, 2012, he was in his office at the

police station in Frederiksted when he heard the report of the shooting. Tr. 97. At 8:10 p.m., he

reported to 911 that he was traveling to the crime scene. Tr. 99; Ex. 12. After he arrived and

while stationed a short distance down the road, he heard that “two black males, slim built, left in

a truck.” Tr. 36. At 8:46 p.m., he heard the radio transmission from Mendez concerning the two

men who had taken off running, with one of them heading in the direction of the One Love

Service Station (in Estate St. John). Tr. 36, 37, 39, 111. Being familiar with the Princesse and

Estate St. John areas, Cruz headed there in his unmarked police car. Tr. 36, 37, 39. While driving

down the road by the One Love Service Station, he observed an individual in a white shirt

running across the road. He drove in the direction the person was running and, shortly thereafter,

saw a rasta male, wearing a black shirt and three-quarter jean pants, standing with his back

towards him in the bush by the side of the road, two car-lengths away. Tr. 40-41. Cruz opened

his car door, stood behind it, and ordered the man to show his hands. The man did not comply

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but stood with his back toward Cruz for ten to fifteen seconds. He then looked over his left

shoulder, and looked forward. Tr. 40-44, 148. Cruz was concerned that the man might have a

gun in his hands and would try to shoot him. As a precaution, he drew his firearm, made a “right

flank” move for protection, and again demanded that the man show his hands. The man turned

around slowly. Tr. 43-47.

       Cruz ordered the man to the ground. By that time, another officer had arrived and they

both handcuffed the man. Tr. 44-47. Cruz saw a white shirt hanging from the bushes near where

the man had stood. Tr. 47. After helping the man get back on his feet, Cruz asked if he had any

weapons on him. Tr. 48. The man—who Cruz identified in the courtroom as Defendant

Wrensford—responded that he had a knife in his front pocket, which Cruz removed. Tr. 48, 53.

Cruz asked if he had anything else in his pockets. Wrensford responded that he had keys and a

wallet. Tr. 48, 132. Cruz removed the keys—which he recognized were from a GMC truck—as

well as a vehicle insurance card from Wrensford’s front pocket, and the wallet from his rear

pocket. Tr. 49. Cruz patted him down after he removed these items. Tr. 48, 64-65, 133. The Call

History shows that Wrensford was detained at 8:58 p.m. Ex. 12.

       Wrensford asked Cruz what was going on; Cruz answered that there had been a shooting

and Wrensford fit the description of a person who was reported as running. Tr. 130-31. Cruz also

informed Wrensford that he was being detained. Tr. 53. He expected that Wrensford would be

transported to the closest police station—C Command in Christiansted—and that Mendez would

determine if Wrensford was the same person he had stopped earlier. Cruz also expected that the

case agent—Sgt. Matthews—would question Wrensford. Tr. 52-54, 143, 146.

       After Wrensford was transported to C Command at 9:06 p.m., Cruz heard Mendez’s 911

report that the red truck had been found. Tr. 65; Ex. 12. Cruz drove over to the location and

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observed spent rounds and casings in the rear of the truck. Tr. 66, 73. He and other officers

returned to the spot where he had detained Wrensford to see if they might be able to locate a

firearm. They found one close to the fence where Wrensford had been standing. Tr. 73-74.

       Sergeant Richard Matthews, a nineteen-year VIPD veteran, testified that, in May 2012,

he was working in the major crimes unit and was the case agent for the homicide that occurred

on May 10, 2012 near Food Town. Tr. 150-51. After hearing a call over dispatch at

approximately 8:15 p.m. reporting a shooting at Food Town, he traveled there from

Frederiksted—a 20-25 minute drive. Tr. 152, 203, 211. Once he arrived, he spoke with his

partner, Detective Fieulleteau, who “fill[ed him] in as to what happened.” Tr. 152. Matthews

understood from Fieulleteau that there were witnesses to the shooting, and that Fieulleteau

believed the witnesses knew who the perpetrators were. Tr. 153, 208. Matthews told Fieulleteau

to contact the witnesses and have them come to the C Command police station in Christiansted

so their statements could be taken. Tr. 153, 214-15.

       While he was still at the crime scene, Matthews heard a 911 transmission that someone

had been detained and was being taken to C Command. Tr. 154. Matthews recalled that the

witnesses had been asked to go to the same police station to give their statements. He contacted

officers at the station and told them to move Wrensford to another facility in order to avoid the

witnesses encountering Wrensford. Matthews thought there would be enough time to move

Wrensford before the witnesses arrived, even though he did not know how far the witnesses had

to travel to reach the station. Tr. 155, 215-17.

       Once he arrived at the police station, Matthews took a written statement from Witness

One (“W1”). Tr. 158. W1 told him that when he was arriving at the station to give his statement,

he saw the person who was the passenger in the red truck involved in the shooting leaving the

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station. Tr. 158-59. Fieulleteau interviewed a second witness (“W2”) at the police station who

also identified Wrensford as the shooter under similar circumstances. Tr. 160. After W2 made

that statement to him, Fieulleteau showed W2 Wrensford’s driver’s license, and W2 positively

identified Wrensford as

       the male individual that he/she saw shooting from the passenger side window of
       the pickup truck during the shooting incident . . . earlier that night. . . and also as
       the same male individual that he/she saw being taken out of the police station by
       the two police officer[s] as he/she was sitting in his/her father’s truck at the traffic
       light [in front of the police station].

Ex. 7; Tr. 227.

       W1 and W2 signed their statements, which included identifications of Wrensford as the

shooter, at 9:56 p.m. and 9:55 p.m., respectively—approximately fifty minutes after Wrensford

had been transported to the station. Tr. 202, Ex. 12.

       Matthews stated that the investigation into the shooting began “[f]rom the time it

happened” and was ongoing because “[t]here was another person at large. There were things to

be found. There were a lot of things going on at the same time.” Tr. 156. Matthews testified that,

as case agent, he continued to gather information about the incident by speaking to individuals

and officers. He added that officers were searching the Princesse area for the other individual

who had run from Mendez and for the vehicle used in the shooting. Tr. 157-58. Asked why he

chose to talk to W1 before he talked to Wrensford, Matthews stated that it would “make more

logical sense, to see what happened with a witness, and then go to speak to him.” Tr. 184.

       Matthews advised Wrensford of his Miranda rights by reading the advice of rights

section of a “Warning and Consent to Speak” form while Wrensford followed along on another




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copy of the form. Tr. 185; Ex. 8. 3 At the end of the Advice of Rights section, Wrensford

indicated that he understood what his rights were and signed the form at 12:23 a.m. on May 11th.

Ex. 8. Matthews then reviewed the second part of the form with him—a waiver of the right to

counsel and indication of a willingness to make a statement and answer questions. Matthews

testified that although Wrensford said he would not sign the waiver section, Wrensford stated

that he would speak to the officers. Tr. 185-87, 222; Ex. 8. Wrensford told Matthews that he was

in the Princesse area with a partner of his, and they were playing basketball. Wrensford refused

to provide Matthews with the name of his partner. Tr. 187-88.

        When Wrensford was being booked by Corporal Luis Encarnacion, Matthews asked

Wrensford if he would consent to the VIPD obtaining a DNA sample from him. Matthews told

him that either they could obtain his consent or Matthews would draft a warrant to get the DNA

swab. Wrensford stated that he was going to get arrested anyway and consented. Tr. 191-92; Ex.

10.

        Corporal Encarnacion, a twenty-year veteran with the VIPD forensic unit, testified that he

took a buccal DNA swab from Wrensford shortly after Wrensford’s arrest at 1:30 a.m. on May


3
 The form, entitled “Warning and Consent to Speak,” contains two sections: “Advise of Rights”
and “Waiver.” The Advise of Rights section provides: “You must understand your rights before
we ask you any questions. You have the right to remain silent. Anything you say can be used
against you in court, or other proceedings. You have the right to talk to a lawyer for advice
before we question you and to have him with you during questioning. If you cannot afford a
lawyer and want one, a lawyer will be appointed for you by the court. If you decide to answer
questions now without a lawyer present, you will still have the right to stop the questioning at
any time. You also have the right to stop the questioning at any time until you talk to a lawyer.”
Above the signature line, the form provides: “I have read this statement of my rights and it has
been read to me, and I understand what my rights are.” The Waiver section of the form provides:
“I do not want a lawyer at this time. I understand and know what I am doing. No promises or
threats have been made to me and no pressure or force of any kin[d] has been used against me. I
hereby voluntarily and intentionally waive my rights and I am willing to make a statement and
answer questions.” Gov’t Ex. 8.
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11, 2012. Tr. 5, 6, 190, 193, 194. Encarnacion was present when Matthews asked Wrensford if

he would provide the DNA sample and he orally consented. Tr. 8. Encarnacion stated that

Wrensford also signed a biological evidence consent form. Tr. 6-8; Ex. 10.

       Photographs of the Princesse/St. John area and the truck and keys, police reports

concerning the investigation of the incident and the arrest, and the 911 call history were entered

into evidence. Ex. 1-12. In his police report, Fieulleteau wrote that, while he was at the scene of

the shooting, he received information that the two people involved in the shooting were named

Craig and Elvin; that they were both black rasta males; that they were best friends; that they got

into an argument earlier that day with the victim; and that they told the victim they were coming

back for him. Ex. 6b.

           B. June 26, 2014 Reconvened Suppression Hearing

       At the June 26, 2014 Suppression Hearing, two VIPD Officers testified: Detective Kirk

Fieulleteau and Officer Lydia Figueroa.

       Det. Fieulleteau, employed by the VIPD for twelve and one-half years, testified that his

duties encompassed investigating homicides. He arrived at the crime scene on May 10, 2012,

shortly after 8:00 p.m., and left some time between 9:00 and 9:30 p.m. While he was there,

Fieulleteau was informed by Officer Cruz that a person of interest had been taken into custody.

He told Cruz to take the person to C Command. At some point after that, Fieulleteau spoke with

Officer Figueroa and her partner, who were getting ready to leave the scene. He asked if they

could travel to C Command and pick up the individual who was detained there and transport him

to his office in Frederiksted. He wanted to question that individual about his possible

involvement in the incident that evening.




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       Fieulleteau testified that, after speaking with Figueroa, he made a telephone call to the

two witnesses who had told him that they could identify the participants in the crime and asked if

they would meet him that evening at C Command. They agreed. 4 He arranged to meet them at C

Command because it was more convenient for everybody to meet at the closest police station.

       Because the person of interest was detained at C Command—the same place where he

had told the witnesses to meet him—Fieulleteau called Figueroa and asked her to hurry up, pick

up the person, and take him to Frederiksted because he was going to be meeting some witnesses

at C Command and he did not want the witnesses and the person at C Command to see each

other. When he arrived at C Command shortly thereafter—at almost the same time as Figueroa—

he learned that the person of interest was still in his cell. Fieulleteau asked him his name;

Wrensford told him. Wrensford was then advised that he would be transported to Fieulleteau’s

office in Frederiksted. Fieulleteau asked Figueroa to leave with Wrensford immediately because

he did not want the witnesses to have any sort of “inadvertent interaction” with Wrensford.

       Shortly thereafter, the witnesses arrived. Sgt. Matthews interviewed the man (W1) and

Fieulleteau interviewed the lady (W2). Before the interview began, as Fieulleteau was preparing

the paperwork, W2 blurted out, “That’s the shooter.” In explaining what she meant, W2 said that

the guy that the police officers had just put in the police car was the shooter in the incident

earlier that evening. Fieulleteau went to the room where Sgt. Matthews was interviewing W1,

and told Matthews what W2 had said. Matthews told Fieulleteau that W1 had just told him the

same thing. Fieulleteau returned to the interview and showed W2 Wrensford’s driver’s license


4
 Fieulleteau had initially told the witnesses, before they left the crime scene, that he would
contact them the next day to arrange a time to speak with them. Because they were so
cooperative and forthcoming, he changed his plan and decided to interview them that evening,
while the information was fresh.
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and asked her if she recognized the picture of the person. W2 answered that it was a photograph

of the shooter from the earlier incident, who was the same person that she saw the officers put

into the car while she was at the traffic light outside the police station on her way to the

interview. Fieulleteau stated that W2 was “very, very positive” that the shooter was the person

who was leaving the station with the officers.

       Officer Figueroa, a twenty-seven and a half year veteran of the VIPD, who works with

the School Security Bureau, testified that, on the night of the shooting, she and her partner

responded to the crime scene. As they were leaving, Fieulleteau told them to go to C Command

to escort an individual in the cell there to the police station in Frederiksted. When she arrived at

C Command, she observed Fieulleteau—who had arrived at approximately the same time—ask

the man his name and advise him that Figueroa would transport him to Frederiksted. After

Figueroa handcuffed him, she and her partner escorted him through the door of the police station,

down the stairs, and into the waiting police car. They then drove to Frederiksted.

                                     II.    DISCUSSION

       Defendant Wrensford has raised several issues in his Motion to Suppress. He seeks to

suppress: (1) the knife, keys, wallet, and insurance card that Officer Cruz removed after

handcuffing him; (2) the statements that he made to the police officers; (3) the buccal swab; and

(4) the identifications of him made by W1 and W2. (Dkt. No. 72 at 14).

           A. Terry Stops by Officers Mendez and Cruz

       Wrensford claims that the initial stop by Mendez was an illegal Terry stop because

Mendez did not have reasonable suspicion to stop him. He also argues that Officer Cruz had

neither reasonable suspicion nor probable cause when he stopped him a short time later. The

Court finds that neither stop violated Wrensford’s Fourth Amendment rights.

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                1.   Applicable Legal Principles

       The Fourth Amendment protects individuals from “unreasonable searches and seizures.”

U.S. Const. amend. IV. “[S]earches without a warrant are presumptively unreasonable.” United

States v. Mathurin, 561 F.3d 170, 173 (3d Cir. 2009). Where a search being challenged takes

place without a warrant, the Government has the burden to “demonstrate that the warrantless

search was conducted pursuant to one of the exceptions to the warrant requirement.” United

States v. Williams, 2014 WL 252101, at *2 (D.N.J. Jan. 23, 2014) (citing United States v.

Herrold, 962 F.2d 1131, 1137 (3d Cir. 1992)). Any evidence obtained as a result of an

unconstitutional seizure “must be suppressed as ‘fruit of the poisonous tree.’” United States v.

Brown, 448 F.3d 239, 244 (3d Cir. 2006) (quoting Wong Sun v. United States, 371 U.S. 471,

487–88 (1963)).

        “[U]nder the exception to the warrant requirement established in Terry v. Ohio, 392 U.S.

1 (1968), the Supreme Court has held that ‘police can stop and briefly detain a person for

investigative purposes if the officer has a reasonable suspicion supported by articulable facts that

criminal activity ‘may be afoot,’ even if the officer lacks probable cause.”’ Mathurin, 561 F.3d at

173–74 (quoting United States v. Sokolow, 490 U.S. 1, 7 (1989)). Such brief investigative stops

are “seizures” subject to Fourth Amendment protection. Johnson v. Campbell, 332 F.3d 199, 205

(3d Cir. 2003) (citing Terry, 392 U.S. at 21).

       The reasonable suspicion necessary for a Terry stop “is a less demanding standard than

probable cause[.]” Alabama v. White, 496 U.S. 325, 330 (1990). Under the reasonable suspicion

standard,

       officers are required to have a particularized and objective basis to suspect illegal
       activity in order to conduct a search. The officers must be able to articulate
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       reasons that led to the search . . . that are indicative of behavior in which most
       innocent people do not engage. We consider the totality of the circumstances in
       determining whether reasonable suspicion existed at the time of the search.
       Accordingly, although each individual factor alone may be consistent with
       innocent behavior, it is sufficient if together they serve to eliminate a substantial
       portion of innocent [people].
United States v. Whitted, 541 F.3d 480, 489 (3d Cir. 2008) (internal quotations and

citations omitted). The police officer must, however, demonstrate that the stop was based

on something more than an ‘“inchoate and unparticularized suspicion or hunch.’”

Sokolow, 490 U.S. at 7 (quoting Terry, 392 U.S. at 27).

       The constitutionality of a Terry stop involves a two-part assessment:

       First, we examine ‘whether the officer’s action was justified at its inception’—
       that is, whether the stop was supported by reasonable suspicion at the outset. . . .
       Next, we determine whether the manner in which the stop was conducted ‘was
       reasonably related in scope to the circumstances which justified the interference
       in the first place.’
United States v. Johnson, 592 F.3d 442, 452 (3d Cir. 2010) (quoting Terry, 392 U.S. at 19–20).

In assessing the totality of the circumstances as to whether reasonable suspicion existed at the

time of a search, courts consider such factors as: (1) the presence of a suspect in a high crime

area; (2) a suspect’s presentence street at a late hour; (3) a suspect’s “nervous, evasive behavior”

or flight from police; and (4) a suspect’s behavior that conforms to police officers’ specialized

knowledge of criminal activity. Brown, 448 F.3d at 251 (quoting Illinois v. Wardlow, 528 U.S.

119, 124 (2000) and citing cases). Further, in determining whether a stop is “‘so minimally

intrusive as to be justifiable on reasonable suspicion,’” courts consider the duration of the stop;

the law enforcement purposes justifying the stop; whether the police diligently sought to carry

out those purposes given the circumstances; and alternative means by which the police could

have served their purposes. United States v. Sharpe, 470 U.S. 675, 684–87 (1985) (citation

omitted).

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       In contrast to reasonable suspicion, ‘“[p]robable cause to arrest exists when the facts and

circumstances within the arresting officer's knowledge are sufficient in themselves to warrant a

reasonable person to believe that an offense has been or is being committed by the person to be

arrested.”’ Merkle v. Upper Dublin Sch. Dist., 211 F.3d 782, 788 (3d Cir. 2000) (quoting Orsatti

v. N.J. State Police, 71 F.3d 480, 482 (3d Cir. 1995)); see also id. at 789 (“If ‘at the moment the

arrest was made . . . the facts and circumstances within [a police officer’s] knowledge and of

which [he] had reasonably trustworthy information were sufficient to warrant a prudent man in

believing’ that [a person] had violated the law, probable cause is present.”) (quoting Hunter v.

Bryant, 502 U.S. 224, 228 (1991)). Probable cause “is not required for investigatory detentions

that fall short of an arrest.” Hopkins v. Vaughn, 363 F. App’x 931, 936 (3d Cir. 2010) (citing

Terry, 392 U.S. at 20.

             2.   Officer Mendez’s Initial Stop

       Wrensford argued at the January 2014 suppression hearing that Mendez did not have

reasonable suspicion to stop him because Mendez had no description of the suspects involved,

did not see the red truck, and had no information linking the two men with any crime. The Court

disagrees.

       When Mendez encountered the men on a secluded road in an area where suspects in a

recent shooting were reported to have headed, they were sweating profusely and one man had

leaves stuck in his clothes and hair. A rational inference from their appearance was that they had

been running through the bushes—a highly unusual night-time behavior in which most innocent

people do not engage. Whitted, 541 F.3d at 489. Moreover, the temporal and spatial proximity of

the encounter to the crime—approximately forty minutes after the shooting and less than two




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miles from the crime scene—provides a “relevant contextual consideration[] in a Terry analysis.”

Wardlow, 528 U.S. at 124.

       In United States v. Robertson, 305 F.3d 164 (3d Cir. 2002), the Third Circuit found that a

police officer had “a reasonable suspicion that the two suspects he viewed sprinting through the

streets of Philadelphia, in close proximity to the scene of the armed robbery, had committed the

crime.” Id. at 168. In such circumstances, police officers—like Mendez here—have to rely on

their “experience and training, indispensable to [their] evaluation of reasonable suspicion,”

particularly under “exigent circumstances requiring quick, decisive reactions.” Id.

       The Court finds that Mendez had both a “particularized” and “objective” basis to suspect

that criminal activity involving the two men may have been afoot, based on their appearance,

their location, and the temporal proximity to the crime—which provided the requisite reasonable

suspicion to justify the stop.

         3.    Officer Cruz’s Subsequent Stop

       Wrensford maintains that his seizure by Officer Cruz was unjustified for two reasons.

First, he cites the 911 call history reporting that a black truck had been involved in the crime, and

that people on bikes and on foot east of the crime scene had been spotted. He claims that “the

fact that the police were checking on other ‘suspects’ who were very different from the two that

were eventually arrested indicates that they did not have specific, articulable information that

linked them to Mr. Wrensford, and that Officer Cruz was not justified in detaining him and

searching him.” (Dkt. No. 72 at 7). Second, he asserts that, at the time of the stop, all that Officer

Cruz knew was that a shooting had occurred forty-five minutes earlier in an area that was

approximately a mile and a half away, and that Mendez’s 911 report that two people were

running did not provide reasonable suspicion to justify the stop. Id.

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          The Court finds Wrensford’s arguments unpersuasive. The 911 call history indicates that,

at 8:07 p.m., a female from Mill Harbor reported “several males on bikes” and that it was

“unknown if they discharged the shots from JFK Project.” Ex. 12. It also indicated that, at 8:34

p.m., there was a “visual of a male at Churches Chicken” (in the Five Corners area, east of the

crime scene). Id. However, the report of males on bikes explicitly linked them to another

incident. Further, Cruz testified that he would not have stopped the individual walking by Five

Corners because “[w]hat was transmitted was that two rasta guys in a pickup truck left the scene

at a high rate of speed driving into LaGrande Princess. So no, I wouldn’t have stopped that guy

by Five Corners.” Tr. 110. While some reports on the call history indicated that the getaway

truck was red and others indicated it was black, the report to which Cruz responded concerned

two men running from Mendez in Princesse, not men driving in a truck of a certain color.

Accordingly, the Court finds that the reports concerning the color of the truck and the individuals

at Mill Harbor and Five Corners had no bearing on whether Cruz had reasonable suspicion to

stop the person he saw in the bushes in the Princesse/St. John area.

          Indeed, Cruz had ample reason to stop Wrensford. While Cruz was at the crime scene, he

heard a description of the suspects as black rasta males, slim build. At 8:46 p.m., he heard

Mendez’s transmission concerning two men who fit that description who had taken off running,

with one heading into the bushes and the other toward the One Love Service Station in the

Princesse/St. John area. Shortly thereafter, Cruz drove down the road next to that service station,

and saw a “rasta guy” running across the road. 5 Not only did Cruz observe a person running in

an area where suspected perpetrators of a recent crime had headed, but it was reasonable for

Cruz to assume that the person he saw running was one of the men who had run away from

5
    Cruz reported seeing no other black males that night in that area. Tr. 108.

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Mendez a short time before. Tr. 131. Officers confronted by the flight of a person under

investigation during a Terry stop must be allowed “to stop the fugitive and investigate further.”

Wardlow, 528 U.S. at 125. Moreover, “[a] court may also consider the temporal and geographic

proximity of the suspect to a crime scene and the similarity between the suspect’s physical

appearance and the details of the reported descriptions of the suspect.” United States v. Bennett,

2010 WL 1427593, at *4 (E.D. Pa. Apr. 9, 2010) (citing United States v. Harple, 202 F.3d 194,

196 (3d Cir. 1999)); see also Adams v. Williams, 407 U.S. 143, 145 (1972) (“[T]he Fourth

Amendment does not require a policeman who lacks the precise level of information necessary

for probable cause to arrest to simply shrug his shoulders and allow. . . a criminal to escape.”).

        Wrensford matched both the description of the suspected perpetrator of the crime and the

person who ran from Mendez, and he was apprehended in an area where the suspected

perpetrators headed after the crime. All of these factors support the conclusion that Cruz had the

requisite reasonable suspicion, supported by articulable facts, to justify the stop of Wrensford.

Terry, 392 U.S. at 19-20.

           B. Suppression of Seized Items

        Wrensford argues that certain items seized from his person by Officer Cruz should be

suppressed because the seizures violated his Fourth Amendment rights. The Court disagrees with

regard to the seizure of the knife, but agrees as to the seizure of the keys, wallet, and insurance

card.

                    1. The Knife

        “[T]he realities of law enforcement allow police officers to briefly detain an individual

based upon ‘articulable suspicion’ and then to perform a limited protective ‘patdown’ for

weapons during that detention ‘where a police officer observes unusual conduct which leads him

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reasonably to conclude in light of his experience that criminal activity may be afoot.”’ United

States v. Navedo, 694 F.3d 463, 467 (3d Cir. 2012) (quoting Terry, 392 U.S. at 30). A protective

search or patdown is permissible if the officer has reasonable suspicion to believe that a suspect

is “armed and dangerous.” Id. (quoting Terry, 392 U.S. at 30). “The purpose of a Terry frisk for

weapons ‘is not to discover evidence of crime, but to allow the officer to pursue his investigation

without fear of violence.’” United States v. Gatlin, 613 F.3d 374, 378 (3d Cir. 2010) (quoting

Adams, 407 U.S. at 146). The issue “is whether a reasonably prudent [person] in the

circumstances would be warranted in the belief that his safety or that of others [is] in danger.”

Terry, 392 U.S. at 27. The determination is based on the totality of the circumstances,

recognizing that an officer may have more experience and training “to make inferences from and

deductions about the cumulative information available” than an untrained person. United States

v. Arvizu, 534 U.S. 266, 273 (2002).

       In view of the description of the suspected perpetrators of the crime and the transmission

from Mendez regarding the men who took off running, Cruz had not only reasonable suspicion to

stop Wrensford, but also a reasonable belief that he was “dealing with an armed and dangerous

individual” who had just committed a shooting. Terry, 392 U.S. at 27. Cruz was therefore

justified in conducting “a reasonable search for weapons.” Id. Cruz’s removal of the knife from

Wrensford’s front pocket, after Wrensford stated that he had a knife there, was thus justified.6

Accordingly, the knife will not be suppressed.




6
  The fact that the knife was removed by Cruz following its identification by Wrensford, rather
than being discovered in a patdown, is of no moment. The objective of the patdown is to
discover and seize weapons or other objects that may be used to harm the officer. The knife,
however discovered, certainly qualifies as such.
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          2.     The Keys, Wallet, and Insurance Card

        While a police officer may perform a protective patdown for weapons during a Terry

stop, the scope of that search must be “carefully limited [to] the outer clothing of such persons in

an attempt to discover weapons which might be used to assault” the officer. Terry, 392 U.S. at

30. “If the protective search goes beyond what is necessary to determine if the suspect is armed,

it is no longer valid under Terry and its fruits will be suppressed.” Minnesota v. Dickerson, 508

U.S. 366, 373 (1993); see also Terry, 392 U.S. at 29 (“The sole justification of the search in [a

Terry stop] is the protection of the police officer. . . , and it must therefore be confined to an

intrusion reasonably designed to discover guns, knives, clubs, or other hidden instruments for the

assault of the police officer.”).

        After he removed the knife, Cruz asked Wrensford if he had any other items in his

pockets. Wrensford responded he had keys and a wallet, and Cruz removed them. Tr. 132-34. He

also removed a vehicle insurance card from Wrensford’s pocket and read it. Tr. 135-36. Cruz

explained that he removed the keys and wallet because he wanted to ensure that the key ring did

not contain a key that could open handcuffs, which could be a threat to police officers’ safety. Tr.

49-51, 130-140. Cruz could provide no reason why he removed the insurance card. Tr. 50.

        Cruz’s seizure of the keys, the wallet, and the insurance card went beyond the parameters

of a protective search for weapons allowed in a Terry stop. The Court rejects Cruz’s explanation

that his intrusive search was necessary to discover a handcuff key (or any item such as a piece of

wire that could open a handcuff), as such a rationale would swallow the rule that only a limited

weapons patdown is permissible with a Terry stop. In any event, handcuff keys are not weapons.

Consequently, the Court will suppress the keys, wallet, and insurance card as fruits of an

unconstitutional search as long as no exceptions to the exclusionary rule apply.

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       The Government asserts that such an exception applies here, arguing that these items are

admissible under the inevitable discovery doctrine. This doctrine applies if the Government can

prove, by a preponderance of the evidence, “that the police, following routine procedures, would

inevitably have uncovered the evidence.” United States v. Vasquez De Reyes, 149 F.3d 192, 195

(3d Cir. 1998) (opining that ‘“if the prosecution can establish by a preponderance of the evidence

that the information ultimately or inevitably would have been discovered by lawful means. . .

then the deterrence rationale [of the exclusionary rule] has so little basis that the evidence should

be received.’”) (quoting Nix v. Williams, 467 U.S. 431, 444 (1984)); see also Herrold, 962 F.2d

at 1140 (the doctrine “considers what would have happened in the absence of the initial [illegal]

search.”). In other words, the Government must show that “the evidence would have been

obtained inevitably, and therefore would have been admitted regardless of any overreaching by

the police.” Nix, 467 U.S. at 447.

       Although it does not appear that the Third Circuit has specifically ruled that items

improperly seized during a Terry stop can be admissible pursuant to a search incident to a lawful

arrest, several other Circuits have so ruled. See, e.g., United States v. Bailey, 743 F.3d 322, 339

(2d Cir. 2014) (concluding that any Fourth Amendment error in retention of defendant’s keys

would be cured since the keys’ seizure was inevitable upon a search incident to a lawful arrest);

United States v. Thomas, 524 F.3d 855, 859 (8th Cir. 2008) (ruling item that was improperly

removed from suspect’s pocket admissible under inevitable discovery doctrine because it would

have been found pursuant to search incident to later arrest); see also United States v. Salter, 255

F. App’x 355, 357 (11th Cir. 2007); United States v. McGlown, 150 F. App’x 462, 468 (6th Cir.

2005). The Court finds that the inevitable discovery doctrine could be used in this case to cure

the illegality of Cruz’s search which yielded the keys, wallet, and insurance card—if the

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Government can show by a preponderance of the evidence that the items would inevitably have

been discovered later, following routine police procedures, during a search incident to a lawful

arrest.

          While the Government claims in its written submission that “[p]olice officers routinely

conduct searches and seize personal items (search incident to arrest) from arrestees at the time of

arrest” (Dkt. No. 71 at 6-7), there was no testimony or other evidence introduced at the

suppression hearings that the VIPD has an established procedure in place where, upon arrest of a

suspect, an officer will routinely conduct a search of the person incident to that arrest. In fact, the

only person who testified about searching Wrensford is Cruz, whose search went beyond the

bounds of Terry. Tr. 141.

          The lack of evidence on this point is significant. The Third Circuit has opined that

“[i]nevitable discovery is not an exception to be invoked casually, and if it is to be prevented

from swallowing the Fourth Amendment and the exclusionary rule, courts must take care to hold

the government to its burden of proof.” Vasquez de Reyes, 149 F.3d at 196 (internal quotation

marks omitted). The record “must support a finding that the police had relevant procedures in

place, that those procedures would have been followed, and that would have inevitably led to the

discovery of the evidence in question.” United States v. Carrion-Soto, 493 F. App’x 340, 342 (3d

Cir. 2012). Further,

          [i]f the officers here had appropriate procedures that would have been followed
          absent the unconstitutional search . . . , it was the Government’s burden to
          establish that during the hearing. It is not for a court to speculate about any such
          procedures unless the facts are so clear as to justify taking judicial notice of them.

Id. at 343 (internal quotation marks omitted).

          The Court will not assume facts that are not in evidence, and finds that the Government

has not met its burden of showing that the inevitable discovery doctrine applies here.
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Accordingly, the Court will grant Defendant’s motion to suppress the keys, wallet, and insurance

card that Cruz improperly seized during the Terry stop.

              3. De Facto Arrest

       Wrensford contends that Cruz’s actions in drawing his weapon, ordering Wrensford to

the ground, and conducting an intrusive search were “much more akin to a full scale arrest from

the very beginning, and it certainly blossomed into an arrest by the time the witnesses identified

[him]” at the police station. (Dkt. No. 72 at 5). He also claims that “transporting a suspect to a

police station for interrogation transforms the seizure to an arrest requiring probable cause,” as

established by Dunaway v. New York, 442 U.S. 200 (1979). Id. Wrensford concludes that

because his “apprehension, detention, and compulsory transportation to the police station”

constituted an arrest that required probable cause, and the police did not have probable cause at

that time, “all of the evidence obtained as a result thereof should be suppressed.” Id. at 8. In

essence, Wrensford is claiming that “the manner in which the stop was conducted transformed

the encounter into a formal arrest.” Johnson, 592 F.3d at 447.

       The Government responds that drawing a weapon and handcuffing Wrensford were

necessary safety precautions, and transporting Wrensford to the police station for further

questioning did not amount to a de facto arrest since such action was reasonably necessary in

pursuit of the ongoing investigation. (Dkt. No. 85 at 1). The Court agrees with the Government’s

position.

       The Supreme Court has observed that, in certain circumstances, it can be difficult to

distinguish a Terry stop, requiring reasonable suspicion, from a de facto arrest, which must be

supported by probable cause. See Sharpe, 470 U.S. at 685 (observing that case law “may in some

instances create difficult line-drawing problems in distinguishing an investigative stop from a de

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facto arrest.”). Nonetheless, Wrensford is incorrect when he asserts that drawing a weapon on a

suspect and ordering him to the ground necessarily constitute an arrest. The Third Circuit has

held that pointing a gun at a suspect while securing a location or conducting an investigation did

not “automatically transform an otherwise-valid Terry stop into a full-blown arrest.” Johnson,

592 F.3d at 448, citing, inter alia, Baker v. Monroe Twp., 50 F.3d 1186, 1193 (3d Cir. 1995)

(“There is no per se rule that pointing guns at people, or handcuffing them, constitutes an

arrest.”); see also United States v. Goode, 486 F. App’x 261, 264 (3d Cir. 2012) (stating that the

Third Circuit “has recognized that officers surrounding a car with their weapons drawn, shouting

at the occupants, and later handcuffing them, does not constitute a de facto arrest”) (citing

Johnson, 592 F.3d at 447-48); United States v. Pontoo, 666 F.3d 20, 30 (1st Cir. 2011)

(discussing that intrusiveness of measures taken “is only part of the equation” since “context

matters” and in that case, stop at gunpoint, handcuffing, and forcing defendant to pavement were

proper, as measures taken were “prophylactic and proportional to danger associated with

stopping a suspected murderer.”); United States v. Nargi, 732 F.2d 1102, 1106 (2d Cir. 1984)

(police display of weapons “does not automatically convert a stop into an arrest” where crime

being investigated was a serious felony, the stop was at night in an isolated area, and another

suspect was unaccounted for).

       The Third Circuit has clarified how an argument claiming that a police officer’s conduct

amounted to a de facto arrest during a Terry stop should be analyzed. It first explained that

       an excessively intrusive Terry stop is not unconstitutional because its overly
       broad scope necessarily places a suspect under de facto arrest without probable
       cause, as Johnson suggests here. Rather, an improperly executed Terry stop
       violates the Fourth Amendment because its scope is generally unreasonable under
       all of the circumstances.

Johnson, 592 F.3d at 452 (citations omitted). The Court then opined that

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        complaints [of de facto arrest] are more properly considered during the second
        step of the Terry analysis, when we scrutinize the relative intrusiveness of the
        officers’ conduct. . . . Thus, we review the manner in which the . . . police
        conducted the Terry stop at issue here to determine whether it was reasonably
        related in scope to the initial justification for the stop and the officers’ legitimate
        concerns for the safety of themselves and the general public.

Id. As in all Fourth Amendment analyses, what is constitutionally “unreasonable” varies with the

situation, and requires a balancing of the “nature and extent of the governmental interests” that

justify the seizure, against the “nature and quality of the intrusion on individual rights” that the

seizure imposes. Terry, 392 U.S. at 22, 24.

        As indicated above, Terry permits a police officer conducting an investigative stop to

insure that the person he is dealing with “is not armed with a weapon that could unexpectedly

and fatally be used against him.” Terry, 392 U.S. at 23. The “use of guns and handcuffs must be

justified by the circumstances” that authorized an investigative detention in the first place. Baker,

50 F.3d at 1193; see also United States v. Bonner, 363 F.3d 213, 217 (3d Cir. 2004) (“In

effectuating a valid [Terry] stop, police officers are allowed to use a reasonable amount of

force.”).

        Here, it is uncontested that Cruz—who was investigating a shooting—drew his gun on

Wrensford, ordered him to the ground, and handcuffed him. Cruz was alone, at night, on a

secluded road with a possible suspect to a shooting, and with another suspect unaccounted for. In

order to ensure his own safety and to ensure that the possible suspect did not escape, his use of

these intrusive measures was reasonable and proportional to the dangers confronting him.

Viewed in context, and taking all these factors into consideration, Cruz’s actions did not amount

to a de facto arrest.

        Wrensford also argues that being transported to the police station constituted a de facto

arrest. He relies on a statement in Dunaway in which the Supreme Court stated that “detention
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for custodial interrogation . . . intrudes so severely on interests protected by the Fourth

Amendment as necessarily to trigger the traditional safeguards against illegal arrest.” Dunaway,

442 U.S. at 216. 7

       While courts have looked carefully at whether a detention is, or becomes, an arrest if a

person is transported to, and remains in, a police station, here, too, there is no per se rule. For

example, in Murphy v. Mifflin Cnty. Reg’l Police Dep’t, 548 F. App’x 778 (3d Cir. 2013), the

Third Circuit held that placing a suspect in handcuffs for transport to the police station does not

“necessarily transform an investigatory seizure into a formal arrest requiring probable cause,”

and “relocating Murphy to the police station to continue the investigation did not convert his

detention into an arrest.” Id. at 781 (citing, inter alia, Florida v. Royer, 460 U.S. 491, 504-05

(1983) (“[T]here are undoubtedly reasons of safety and security that would justify moving a

suspect from one location to another during an investigatory detention, such as from an airport

concourse to a more private area.”)). The Court found in Murphy that defendant’s forty-five

minute wait at the police station for the canine unit to arrive to sniff his backpack for drugs did

not convert the detention into an arrest, as the officers “acted diligently” in their investigation

while the suspect was detained. Id. 8


7
 This case is factually different from Dunaway, where the defendant was taken from a private
dwelling, transported unwillingly to the police station, and subjected to custodial interrogation
which resulted in the probable cause necessary to support his arrest. Dunaway, 442 U.S. at 203.
Here, the Defendant was apprehended after being found running in an area where suspects to a
shooting had been reported as heading. He was taken to the police station for questioning, and
probable cause developed from an independent source—witnesses who identified him—before
he was questioned.
8
  Wrensford attempts to distinguish Murphy from this case on the ground that Murphy involved a
suspect being transported to a police station for a canine sniff, while here, Wrensford was being
transported to the police station for questioning. The Court fails to understand why this should
make a difference. Moreover, the Murphy Court did not focus on the particular rationale for
transporting the handcuffed suspect to the police station; rather, it considered whether the
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       Whether it was reasonable to transport Wrensford to the police station for further

investigation adds another element to be assessed under the reasonableness inquiry and must be

considered under the totality of the circumstances. Cruz testified that the involvement of other

officers—including knowledge that they possessed—was necessary to proceed further with the

investigation. He stated that he wanted Mendez to determine whether Wrensford was the same

person who had taken off running a few minutes earlier. He also wanted Matthews, the case

agent—who knew much more about the fast-moving investigation than he did—to talk with

Wrensford. Under these circumstances—including that neither Mendez nor Matthews was on the

scene, and that Wrensford had been stopped on a secluded road at night at a time when another

possibly armed suspect was on the loose—it was reasonable to transport Wrensford to the police

station, a secure and safe area, for further investigation.

       Wrensford mentions, in passing, that it was “not plausible” that the “hour and forty-five

minute detention and relocation to the police station was all within the parameters of a Terry

stop.” (Dkt. No. 72 at 4). He appears to question whether the time between his detention by Cruz

and his identification as the shooter in the statements signed by the witnesses at the police

station—which included the time during which he was transported to the police station and

detained there—was unreasonable under Terry.

       As a preliminary matter, Wrensford is mistaken in his assertion that his detention and

relocation to the police station, until the point he was identified by the witnesses, lasted one hour

and forty-five minutes. In his written submission, he incorrectly indicates that the witnesses

identified him at 10:45 p.m., see Dkt. No. 72 at 4, rather than at 9:55 and 9:56 p.m. when they


investigation proceeded diligently once the suspect was detained in determining that there was
no de facto arrest. Murphy, 548 F. App’x at 782.

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signed their statements. Tr. 202, Ex. 6b. Thus, the time between his detention by Cruz (8:58

p.m.) and his identification by the witnesses in their signed statements, was approximately one

hour. 9

          In any event, while the amount of time that a potential suspect is detained cannot be

ignored in a Terry analysis, the Supreme Court has declined to put a “rigid time limitation on

Terry stops.” Sharpe, 470 U.S. at 685. Instead, a court must “consider the law enforcement

purposes to be served by the stop as well as the time reasonably needed to effectuate those

purposes,” to determine whether a detention is unnecessarily prolonged. Id. In so doing, a court

examines

          whether the police diligently pursued a means of investigation that was likely to
          confirm or dispel their suspicions quickly, during which time it was necessary to
          detain the defendant. A court making this assessment should take care to consider
          whether the police are acting in a swiftly developing situation, and in such cases
          the court should not indulge in unrealistic second-guessing. . . . The question is
          not simply whether some other alternative was available, but whether the police
          acted unreasonably in failing to recognize or pursue it.

Id. at 686-87 (citations omitted). The Court in Sharpe concluded that the police pursued their

investigation in a diligent and reasonable manner, which did not “involve any delay unnecessary

to the legitimate investigation of the law enforcement officers.” Id. at 687; see Michigan v.

Summers, 452 U.S. 692, 700, n.12 (1981) (“If the purpose underlying a Terry stop—

investigating possible criminal activity—is to be served, the police must under certain

circumstances be able to detain the individual for longer than the brief time period involved in

Terry and Adams.”); United States v. Cherubin, 2010 WL 924272, at *4 (D.V.I. Mar. 9, 2010)

(noting that while “[b]revity is an important consideration, . . . authorities must be allowed to

9
  In reality, the period of detention prior to Wrensford’s identification was actually less than an
hour because the identifications occurred at the beginning of the witness interviews rather than at
the end when the witness statements were signed. Ex. 7.
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‘graduate their responses to the demands of any particular situation.’”) (quoting United States v.

Place, 462 U.S. 696, 709-10 n.10 (1983)). 10

       During the time that Wrensford was detained before the witnesses identified him as the

shooter, the police were acting in a “swiftly developing situation.” Sharpe, 470 U.S. at 686.

Matthews, the case agent and the person most knowledgeable about the case, testified that while

he was on the scene of the shooting, he and Fieulleteau arranged to meet the eyewitnesses at the

police station to give statements. He stated that he wanted to speak to the eyewitnesses before he

spoke with Wrensford, as it made “more logical sense, to see what happened with a witness, and

then go to speak to [Wrensford].” Tr. 184. Matthews recognized that he could have interviewed

Wrensford first, but decided to interview the witnesses first in an effort to “confirm or dispel

[his] suspicions” about Wrensford’s role. Sharpe, 470 U.S. at 686. There was nothing

unreasonable about that decision, and the Court will not engage in “unrealistic second-guessing”

about Matthews’ choice of how to best “confirm or dispel [his] suspicions.” Id. At the same time,

officers in the field were searching for, and found, a red truck which fit the description of the

getaway truck, and they also discovered a firearm. In addition, officers were at the crime scene

and at the hospital with the victim. Ex. 12. Matthews acted diligently in quickly arranging for the

witness interviews, and Wrensford’s detention of approximately one hour prior to his


10
   The Third Circuit has found that a suspect’s detention at a police station was not unreasonable
in situations involving police waiting for drug-sniffing dogs to arrive to search a suspect’s items.
See, e.g., Murphy, 548 F. App’x at 781 (forty-five minute detention not unreasonable); United
States v. Leal, 235 F. App’x 937, 942 (3d Cir. 2007) (80-minute delay not unreasonable); United
States v. Frost, 999 F.2d 737, 742 (3d Cir. 1993) (80-minute delay not unreasonable under
United States v. Place, 462 U.S. 696 (1983)); see also Cherubin, 2010 WL 924272, at *5
(finding approximately four and one-half hour detention of suspects pursuant to a Terry stop not
unreasonable and did not evolve into de facto arrest where police acted diligently in contacting
INS officials after they detained suspects).


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identification did not involve “delay unnecessary to the legitimate investigation of the law

enforcement officers.” Sharpe, 470 U.S. at 687.

       Moreover, the duration of a stop is only one element to be weighed in the totality of the

circumstances analysis. Id. at 684-87. The Court must also consider “the law enforcement

purposes justifying the stop in the first place.” Id. at 685. In this case, the law enforcement

purposes justifying the detention were “officer safety, the safety of the community and the

investigation of a person suspected of [shooting someone].” United States v. Colon, 654 F. Supp.

2d 326, 334 (E.D. Pa. 2009). The officers’ diligence in pursuing the investigation while

Wrensford was detained leads the Court to conclude that the “manner in which the stop was

conducted”—the second prong of the Terry analysis—was reasonable under the totality of the

circumstances, and that no de facto arrest occurred. Johnson, 592 F.3d at 452. 11

           C. Wrensford’s Identification

                    1. Applicable Legal Principles

       In United States v. Lawrence, 349 F.3d 109 (3d Cir. 2003), the Third Circuit explained

the constitutional ramifications when a witness to a crime identifies a suspect. “A due process

violation can result when an identification procedure is so suggestive that it undermines the

reliability of the resulting identification. Allowing a jury to consider an identification that is

tainted by such a procedure can constitute reversible error entitling the defendant to a new trial.”

Id. at 115. A tainted procedure occurs when, for example, police attempt to emphasize the



11
   As the Third Circuit cautioned in Leal, the Court’s holding in this regard “should not be
interpreted as condoning a practice of requesting additional investigation without any concern for
the length of the detention,” because “[a]t some point, the detention required for additional
investigation can become so restrictive or prolonged that it is tantamount to an arrest and must
therefore be supported by probable cause if it is to withstand constitutional scrutiny.” Leal, 235
F. App’x at 942 n.1. That is not the case here.
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photograph of a given suspect, thereby improperly suggesting who the witness should select. Id.

(citing Simmons v. United States, 390 U.S. 377, 383 (1968)).

        Identification-related due process concerns “are implicated only when ‘the police have

arranged suggestive circumstances leading the witness to identify a particular person as the

perpetrator of a crime.”’ United States v. Wrensford, 2014 WL 1218398, at *5 (D.V.I. Mar. 24,

2014) (quoting Perry v. New Hampshire, 132 S. Ct. 716, 720 (2012)). Indeed, the Supreme Court

“has linked the due process check, not to suspicion of eyewitness testimony generally, but only

to improper police arrangement of the circumstances surrounding an identification.” Perry, 132

S. Ct. at 726.

        Courts are directed to engage in a two-step analysis when determining whether witness

identification procedures should be suppressed. In United States v. Foote, 432 F. App’x 151 (3d

Cir. 2011), which examined the suggestiveness of a photo array, the Third Circuit wrote:

        First, we ask whether the photo identification procedure was “unnecessarily or
        impermissibly suggestive.” [United States v. Stevens, 935 F.2d 1380, 1389 (3d
        Cir. 1991)] (internal quotation marks omitted.) To answer that, we determine the
        actual suggestiveness of the identification and whether there was a good reason
        for the failure to utilize less suggestive procedures. Id. If the photo array is
        unnecessarily suggestive, we then determine under the totality of the
        circumstances whether it was so much so that it gave rise to a substantial
        likelihood of misidentification amounting to a violation of due process. Id.
        “[R]eliability is the linchpin in determining the admissibility of identification
        testimony....” Id. at 1391 (internal quotation marks omitted). . . . In sum, “we must
        determine (1) whether the identification process was unduly suggestive and, if so,
        (2) whether the totality of the circumstances nonetheless renders the identification
        reliable.” Thomas v. Varner, 428 F.3d 491, 503 (3d Cir. 2005). The defendant has
        the burden of proving that the out-of-court identification was the product of
        unduly suggestive procedures. Lawrence, 349 F.3d at 115.

Id. at 154. Factors that a court should consider in a reliability analysis include: “(1) the

opportunity of the witness to view the criminal at the time of the crime; (2) the witness’ degree

of attention; (3) the accuracy of the witness’ prior description of the criminal; (4) the level of

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certainty demonstrated by the witness at the confrontation; and (5) the length of time between the

crime and confrontation.” United States v. Brownlee, 454 F.3d 131, 139 (3d Cir. 2011) (citing

Neil v. Biggers, 409 U.S. 188, 199 (1972)).

        A court need not reach the reliability analysis if the police did not engage in

unnecessarily suggestive behavior surrounding the identification procedure. As this Court wrote

in Wrensford, 2014 WL 1218398, when addressing Defendant Muller’s Motion to Suppress

Identification Evidence:

        [I]n Perry v. New Hampshire, __ U.S. __, 132 S. Ct. 716 (2012), the Supreme
        Court held that “the Due Process Clause does not require a preliminary judicial
        inquiry into the reliability of an eyewitness identification when the identification
        was not procured under unnecessarily suggestive circumstances arranged by law
        enforcement.” Id. at 730. In other words, only if a court determines that the
        identification process was unduly suggestive will it perform a reliability analysis,
        examining under the totality of the circumstances whether other indicia of
        reliability ‘“outweigh[ ] . . . the corrupting effect’ of law enforcement
        suggestion.” Id. at 725 (quoting Manson v. Brathwaite, 432 U.S. 98, 114 (1977)).

Id. at *3.

                    2.     Analysis

        Defendant Wrensford contends that there were two unconstitutional identifications of him

that should be suppressed. The first identification occurred when Witness 1 (“W1”) and Witness

2 (“W2”) saw him leave the police station and get into the waiting police car—while they were

stopped at a light near the station on the way to their interviews—and recognized him as the

shooter. The second instance was when Fieulleteau showed W2 Wrensford’s license, with his

photograph on it, and W2 identified him as the shooter and the person who had just left the

police station. Wrensford claims that these identifications were unduly suggestive and amounted

to a “show up”—where “officers have a single suspect in custody and literally show him to

eyewitnesses to see if they can identify him or her as the perpetrator of the crime.” (Dkt. No. 81

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at 3). The Government counters that no “show-up” occurred as the police “took steps to avoid

any encounter between Wrensford and the eye-witnesses” and there was no affirmative behavior

on the police’s part to influence the identification of Wrensford by W1 and W2. (Dkt. No. 85 at

5).

       The Supreme Court has described a show-up as “[t]he practice of showing suspects

singly to persons for the purpose of identification, and not as part of a line-up,” Stovall v. Denno,

388 U.S. 293, 302 (1967), and the Third Circuit has characterized show-ups as “inherently

suggestive.” Brownlee, 454 F.3d at 138. As this Court found in adjudicating Defendant Muller’s

Motion to Suppress Identification Evidence, a ‘“primary aim of excluding identification evidence

obtained under unnecessarily suggestive circumstances . . . is to deter law enforcement use of

improper lineups, showups, and photo arrays in the first place.”’ Wrensford, 2014 WL 1218398,

at *5 (quoting Perry, 132 S. Ct. at 726.)

       With regard to the identification of Wrensford by W1 and W2 when Wrensford was

leaving the police station, the uncontroverted testimony shows that Fieulleteau attempted to

avoid such an encounter, not to promote it. He was aware that a person of interest had been

apprehended and had been taken to C Command, and told Figueroa to pick the person up and

transport him to the Frederiksted police station. After he had that conversation with Figueroa, he

decided to meet with the two witnesses he had spoken with at the crime scene while the

information was “fresh” in their minds. He called them to see if they could meet at C Command

that evening, and they agreed. According to Fieulleteau, meeting them at C Command was

convenient because he and the witnesses were closest to that police station. After he arranged to

meet the witnesses, he called Figueroa and told her to hurry and pick up the detained individual

at C Command and take him to Frederiksted. He testified that he did not want the witnesses and

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detained person to see each other. Fieulleteau and Figueroa arrived at C Command at about the

same time; Fieulleteau spoke briefly to Wrensford; and Figueroa and her partner escorted

Wrensford from the building into the waiting police car. He was in public view for only a few

seconds. Despite Fieulleteau’s precautions, at the point when Wrensford was taken out of the

police station, W1 and W2 were stopped at a nearby traffic light on their way to their interviews

where they happened to see Wrensford leaving the station and entering the waiting police car.

          Courts have termed this kind of fortuitous, unplanned encounter between witnesses and a

suspect—which was not part of a formal, police-initiated identification procedure and where a

witness identifies a suspect—an “accidental show-up,” see Allen v. New York, 2010 WL 811715,

at *4 (W.D.N.Y. Mar. 1, 2010), or a “spontaneous identification,” see Richardson v. Sup’t of

Mid-Orange Corr. Fac., 621 F.3d 196, 204 (2d Cir. 2010), and have found that they are not

unnecessarily suggestive. For example, in United States v. Greenstein, 322 F. App’x 259, 263-64

(3d Cir. 2009), a police officer made pre-trial identifications of a robbery defendant on two

separate occasions—once when he inadvertently viewed a single photograph of the defendant

while passing the desk of a detective and a second time when he saw the defendant, being

processed for an unrelated case, three days after the robbery. The court found these

identifications were not unnecessarily suggestive because, in both instances, the officer

recognized the defendant by coincidence, not as part of a formal identification procedure. No one

requested that the officer make an identification nor did anyone suggest to him that the man he

had seen being processed was involved in the robbery at all. The Third Circuit observed that all

conversations between the officer and the detective concerning the identification and the robbery

“occurred after [the officer] had already recognized [the defendant].” Id. at 264 (emphasis

added).

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       In Richardson, the Second Circuit, on habeas review, analyzed state court findings that,

inter alia, there was no unnecessary suggestiveness warranting suppression of an out-of-court

identification. There, a witness was asked to go to the police station and identify participants in a

crime. Once the witness entered the stationhouse, he saw the perpetrator and two other men in

handcuffs, and “immediately and spontaneously identified [defendant] as one of the shooters to

an unknown police officer.” 621 F.3d at 199. The state court found that this identification was

“voluntary and spontaneous, and there was no indication that the police officers had any

prearranged knowledge that the [ ] three guys would be standing there.” Id. at 202 (internal

quotation marks omitted).

       In assessing whether this result comported with clearly established law, the Second

Circuit surveyed case law from other circuits and found that, in circumstances similar to those

presented, unarranged or accidental encounters between a witness and a criminal defendant, were

not impermissibly suggestive “particularly where there is no indication to the witness that the

defendant was arrested as a suspect in the witness’s case.” Id. at 203 (citing cases). The Second

Circuit noted that, although the witness might have anticipated that the police could have had a

suspect in custody after the witness was asked to make an identification, he was given no reason

to expect to see any suspects in the first room that he entered. In addition, simply because the

defendant was handcuffed had limited significance because that is not an unusual sight in a

police station. The Court opined that “while the police could have been more careful in

coordinating the placement of the suspects and arrival of the witnesses, it is too much of a stretch

to say that circumstances of [the witness’s] initial viewing were equivalent to ‘[t]he practice of

showing suspects singly to persons for the purpose of identification’ that ‘has been widely

condemned.’” Id. at 203-04 (quoting Stovall, 388 U.S. at 302); see also Allen, 2010 WL 811715,

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at *3-4 (district court, on habeas review, found that accidental show up did not amount to

improper identification procedure where a startled witness, in police headquarters to provide a

statement, told the police officer accompanying her that she had just seen the shooter. State

appellate court found that this viewing of defendant was “accidental, unarranged, not attributable

to any misconduct on the part of police, and not unduly suggestive.”).

       While it is true that Fieulleteau arranged to meet the witnesses in the same place where

Wrensford was detained, he acted quickly to attempt to remove Wrensford from that location to

prevent an encounter. The fact that he was not successful is not evidence of any “improper police

influence,” “police-arranged suggestive circumstances,” “improper law enforcement activity,”

“manipulation or intentional orchestration by the police,” or other police-initiated impropriety

that is crucial to a legitimate due process challenge. Perry, 132 S. Ct. at 720, 721, 725. In fact,

the testimony shows the opposite: that the VIPD acted to avoid any such encounter. Accordingly,

the Court cannot conclude that the police orchestrated the sighting in order for the witnesses to

identify Wrensford as a perpetrator. The absence of any improper police conduct renders

unavailing Wrensford’s due process challenge to his identification by W1 and W2 based on

being seen in the company of police officers while leaving the police station.

       Wrensford’s second argument fares no better. The testimony shows that, following their

sighting of Wrensford, both witnesses told their respective VIPD interviewers—without any

prompting from the officers—that they had seen the shooter leaving the police station. After W2

made that statement, Fieulleteau showed W2 Wrensford’s license with Wrensford’s photograph

on it, and asked her whether she recognized the person. 12 W2 responded that it was a photograph


12
  In his written submission, Wrensford argues that both W1 and W2 were shown a photograph of
him. (Dkt. No. 81 at 2). The only evidence of record, however, is that Wrensford’s license with
his photograph was shown to W2.
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of the shooter from the incident earlier that evening, and that he was the same person that she

saw the officers put in the police car while W2 was at the traffic light outside the station on her

way to the interview.

       The Supreme Court has instructed that “identifications arising from single-photograph

displays may be viewed in general with suspicion.” Manson, 432 U.S. at 116 (citing Simmons,

390 U.S. at 383). In deciding whether the single photograph presented a “very substantial

likelihood of irreparable misidentification,” Simmons, 390 U.S. at 384, a court must first consider

the “actual suggestiveness of the identification and whether there was a good reason for the

failure to utilize less suggestive procedures.” Foote, 432 F. App’x at 154 (citing Stevens, 935

F.2d at 1389).

       Here, W2 was shown only one photograph (Wrensford’s driver’s license). However, the

“actual suggestiveness of the identification” was minimal by virtue of the fact that W2 had

already identified the shooter (Wrensford) as the person leaving the police station. Fieulleteau

knew the name of the person who had just left the police station, had the license of that person in

his possession, and showed W2 the license in order to confirm or negate the witness’s earlier

identification. In so doing, he did not indicate to W2 that the photograph was a picture of a

suspect or the person who had just left the police station. Because W2 had made the

identification of Wrensford before she saw the single photograph, W2’s earlier identification

thus distinguishes this situation from those where a single photograph is shown to a witness, not

to confirm an earlier identification but to make an initial identification. See, e.g., Burgos-Cintron

v. Nyekan, 510 F. App’x 157, 161 (3d Cir. 2013) (distinguishing situations where witness

making identification was previously acquainted with, or had previously identified, the

defendant, from the litany of “opinions about the possible unfair suggestive aspects of photo

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arrays” where such is not the case). 13 Under the circumstances here, the Court finds that

Filleuteau’s single photo showing was not unnecessarily suggestive and there was “good reason

for the failure to utilize less suggestive procedures.” Foote, 432 F. App’x at 154. The Court’s

finding in this regard provides a sufficient basis to conclude that Wrensford’s request to suppress

his identification should be denied, and the Court so concludes.

       Because the Court finds that the identification process was not unduly suggestive, it need

not examine whether the identification was reliable. Perry, 132 S. Ct. at 730 (noting that Due

Process Clause does not require judicial inquiry into reliability of identification when

identification “was not procured under unnecessarily suggestive circumstances arranged by law

enforcement”); Wrensford, 2014 WL 1218398 at *3 (“[O]nly if a court determines that the

identification process was unduly suggestive will it perform a reliability analysis. . .”). However,

even if the Court were to assume that the identification process was unduly suggestive, this

would not alter the Court’s conclusion that Wrensford’s request to suppress his identification

should be denied.

       A finding that an identification is unnecessarily suggestive would not “in itself require

exclusion of the evidence,” United States v. Dowling, 855 F.2d 114, 117 (3d Cir. 1988), aff’d

493 U.S. 342 (1990), if the “indicia of reliability are strong enough to outweigh the corrupting

effect of the police-arranged suggestive circumstances.” Perry, 132 S. Ct. at 720. In order to


13
   See also United States v. Diaz, 444 F. App’x 551, 555 (3d Cir. 2011) (where defendant
contended that identification was unduly suggestive because, during identification procedure, he
was brought out of a marked police vehicle in handcuffs and under the escort of several police
officers who stood next to him during the procedure; because eyewitness was able to identify
defendant before he was arrested and handcuffed, Third Circuit could not say district court’s
factual findings were clearly erroneous, and affirmed holding that identification would not be
suppressed).


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assess such reliability, courts apply the five Brownlee/Biggers factors to assess whether

“improper police conduct created a ‘substantial likelihood of misidentification.’” Id. at 724

(quoting Biggers, 409 U.S. at 201).

        Under these factors, W2’s identification was sufficiently reliable not to have violated

Wrensford’s due process rights. As to W2’s opportunity “to view the [defendant] at the time of

the crime” and her “degree of attention,” Brownlee, 454 F.3d at 139, both Matthews and

Fieulleteau testified that W2 had ample opportunity to view Wrensford as the crime was

occurring, and it was clear from the details she offered that her attention was focused on the

unfolding events. W2 observed the shooting from a car parked across the street in the Food

Town parking lot. The crime scene was well lit. She had a good opportunity to see the shooter

because he leaned his upper body out of the window of the truck to shoot the victim. Moreover,

with regard to the “level of certainty demonstrated at the confrontation, and the time between the

crime and the confrontation,” id., W2 positively identified Wrensford—with a high level of

certainty—within two hours after the crime was committed when she saw him being escorted out

of the police station in a well-lit area.

        The final factor concerns “the accuracy of the witness’ prior description of the criminal.”

Id. W2 described the shooter as a dark skinned male, with a little sideburn goatee, hair in a

stocking cap, and a black T-shirt. While Wrensford argues that an inconsistency in W2’s

description of Wrensford as dark-skinned, when he is light-skinned, undermines the reliability of

her identification, an issue with one of the five Brownlee/Biggers reliability factors—when the

others strongly point in the direction of reliability—is an insufficient basis to find that the

identification was not sufficiently reliable. See Biggers, 409 U.S. at 201 (since out of court

identification had sufficient indicia of reliability, issue properly went to jury, even though one

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factor weighed against reliability); United States v. Atkinson, 316 F. App’x 93, 96-97 (3d Cir.

2008) (while some Brownlee factors weakened the reliability of the identification of defendant,

others suggested that identification was reliable and, under totality of the circumstances, the

Third Circuit affirmed lower court finding that identification possessed sufficient indicia of

reliability).

        In sum, considering the five factors, and the totality of the circumstances, W2’s

identification of Wrensford possessed “sufficient aspects of reliability” for the Court to find that

no constitutional violation occurred. United States v. Emanuele, 51 F.3d 1123, 1128 (3d Cir.

1995). Accordingly, even if the witness identification was unnecessarily suggestive, the

reliability analysis would still lead to the conclusion that the second identification of Wrensford

by W2 should not be suppressed. The Court so finds.

                D. Probable Cause to Arrest

        Some time before 9:55 and 9:56 p.m., when W1 and W2 signed their statements, they had

identified Wrensford as the shooter in the crime under investigation to Matthews and Fieulleteau,

respectively. Further, as just discussed, W2 also identified Wrensford as the shooter to

Fieulleteau from the photograph on Wrensford’s driver’s license. Tr. 227; Ex. 7. In addition,

Fieulleteau’s testimony and report provided that witnesses at the scene of the shooting identified

Wrensford and Muller by name as being involved in the shooting. Ex. 6b. This evidence, known

to Matthews and Fieulleteau, provided the requisite probable cause for arrest, as it was

‘“sufficient to warrant a prudent man in believing’ that [Wrensford] had committed . . . an

offense.” Schneyder v. Smith, 653 F.3d 313, 323 (3d Cir. 2011) (quoting Beck v. Ohio, 379 U.S.

89, 91 (1964)).




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           E. Wrensford’s Statements to the Police

       The facts show that Matthews advised Wrensford of his rights at 12:23 a.m. on May 11,

2012 by reading to him the Miranda warnings contained in the Advise of Rights section of the

“Warning and Consent to Speak” form. Above his signature, the form provided: “I have read this

statement of my rights and it has been read to me, and I understand what my rights are.” (Ex. 8).

Wrensford signed that section of the form, but declined to sign the bottom part of the form

waiving his right to a lawyer. Although Wrensford did not sign the waiver section of the form,

Matthews testified that Wrensford agreed to speak to the police. Tr. 185-86, 222. Wrensford

stated that he had been in the Princesse area, with a partner, and they were playing basketball.

Matthews asked for the name of the partner, and Wrensford refused to give the name. Tr. 187-88.

       Shortly before his arrest at 1:30 a.m., Matthews testified that he asked Wrensford whether

he would consent to the VIPD obtaining a DNA sample from him; if not, Matthews would draft a

warrant to obtain such a sample. Tr. 191. According to Matthews, Wrensford responded that he

was going to get arrested anyway and consented. Tr. 191-92. As discussed below, Wrensford

subsequently signed a “Biological Evidence Collection Form” indicating that he “voluntarily”

consented to the taking of a DNA sample. Ex. 10. 14

       The Fifth Amendment provides that “no person . . . shall be compelled in any criminal

case to be a witness against himself.” U.S. Const. amend. V.

           While “admissions of guilt by wrongdoers, if not coerced, are inherently
           desirable,” United States v. Washington, 431 U.S. 181, 187, 97 S. Ct. 1814, 52
           L. Ed. 2d 238 (1977), the Supreme Court in Miranda “presumed that
           interrogation in certain custodial circumstances is inherently coercive and held
           that statements made under those circumstances are inadmissible unless the
           suspect is specifically informed of his Miranda rights and freely decides to

14
  Wrensford did not specify which statement or statements he made to the police that he sought
to suppress. The evidence presented revealed the two statements discussed herein.
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           forgo those rights.” New York v. Quarles, 467 U.S. 649, 654, 104 S. Ct. 2626,
           81 L. Ed. 2d 550 (1984). The “Miranda rights,” while not constitutionally
           compelled, have a “constitutional underpinning,” and thus, they may not be
           rescinded by an act of Congress or be treated with anything but the most
           scrupulous regard by a reviewing court. Dickerson v. United States, 530 U.S.
           428, 440 n.5, 444, 120 S. Ct. 2326, 147 L. Ed. 2d 405 (2000).

United States v. Drummond, 482 F. App’x 686, 690 (3d Cir. 2012) (quoting Miranda v. Arizona,

384 U.S. 436, 479 (1966)). Accordingly, “[c]ourts must exclude testimonial evidence obtained

while a suspect is (1) in custody and (2) subject to interrogation, if the police failed to provide

Miranda warnings, which ensures that the statement was not obtained in violation of the

suspect’s Fifth Amendment right against compelled self-incrimination.” United States v. Frisby,

474 F. App’x 865, 867 (3d Cir. 2012) (citing Pennsylvania v. Muniz, 496 U.S. 582, 590 (1990)).

       At the suppression hearing, Wrensford argued that, even though he signed the Advise of

Rights section of the form, his refusal to sign the waiver section indicated that he did not

knowingly waive his right to counsel and that he was actually invoking that right. Counsel’s

argument is similar to the one made and rejected in United States v. Dixon, 1998 WL 408820, at

*4 (E.D. Pa. July 16, 1998). In Dixon, the police brought defendant a two-part form similar to the

one produced in this case, with Miranda warnings set out at the top and a waiver section at the

bottom. The defendant, at the police station for custodial interrogation, signed the top section but

not the bottom. He then orally agreed to answer questions. Acknowledging that he was read his

rights and signed under a statement so acknowledging, the defendant argued that although he

agreed to answer questions, he preserved his rights by refusing to sign the waiver of rights

section of the form.

       The Court in Dixon found that by “[a]greeing to answer questions and doing so, rather

than waiving Miranda rights on a government form, is simply a rose of another color” and that

he sought “refuge in elevating form over substance,” and had knowingly waived those rights. Id.
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(quoting North Carolina v. Butler, 441 U.S. 369, 373 (1979), providing that “[a]n express written

or oral statement of waiver of the right to remain silent or of the right to counsel is usually strong

proof of the validity of that waiver, but is not inevitably either necessary or sufficient to establish

waiver. The question is not one of form, but rather whether the defendant in fact knowingly and

voluntarily waived the rights delineated in the Miranda case.”); see also United States v.

Velasquez, 626 F.2d 314, 320 (3d Cir. 1980) (holding in case where defendant was given

Miranda warnings, refused to sign waiver of rights form, but nonetheless agreed to answer

questions and never attempted to request counsel or terminate the questioning, that such behavior

constituted an implied waiver under Butler); United States v. Filiberto, 712 F. Supp. 482, 487

(E.D. Pa. 1989) (after defendant was given Miranda warnings, he refused to sign a waiver but

nevertheless responded to police questions without invoking right to counsel or to remain silent,

finding no violation under Miranda, and refusing to suppress responses to police questioning).

Moreover, invocation of the right to counsel must be unambiguously invoked. United States v.

Tyree, 292 F. App’x 207, 211 (3d Cir. 2008).

       Based on the evidence presented, the Court finds that Wrensford was given his Miranda

warnings after which he volunteered to speak with the police—“freely decid[ing] to forgo those

rights.” Quarles, 467 U.S. at 654. Counsel’s argument that by not signing the waiver form,

Wrensford was actually invoking his right to counsel has no merit, because he never

affirmatively and unambiguously invoked such a right. Indeed, he proceeded to sign a consent

form in connection with the DNA sample. Accordingly, the Court will not suppress Wrensford’s

statements to the police.




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           F. The Buccal Swab

       Wrensford also seeks to suppress the buccal swab (DNA sample) that was taken from

him after his arrest, arguing that the swab would not have been “inevitably discovered as the

result of a legal search.” (Dkt. No. 72 at 13).

       In United States v. Mitchell, 652 F.3d 387 (3d Cir. 2011), the Third Circuit ruled that

“[t]he collection of a DNA sample constitutes an invasion of privacy that is subject to the

strictures of the Fourth Amendment.” Id. at 406; see also Maryland v. King, 133 S. Ct. 1958,

1968-69 (2013) (holding that “a buccal swab on the inner tissues of a person’s cheek in order to

obtain DNA samples is a search.”). “[T]he question of whether a consent to a search was in fact

‘voluntary’ or was the product of duress or coercion, express or implied, is a question of fact to

be determined from the totality of all circumstances.” Schneckloth v. Bustamonte, 412 U.S. 218,

227 (1973). The government bears “the burden of proving that the consent was, in fact, freely

and voluntarily given.” Bumper v. North Carolina, 391 U.S. 543, 548 (1968).

       The inevitable discovery doctrine is inapplicable here, as the swab was taken after

Wrensford was arrested, pursuant to probable cause. Furthermore, the uncontroverted testimony

is that Wrensford consented to the buccal swab taken by Officer Encarnacion, both verbally, Tr.

191-92, and in writing on the “Biological Evidence Collection Form” which provided: “I

voluntarily give consent to the Virgin Islands Police Department to collect from my person the

biological evidence checked above.” Gov’t Ex. 10. Accordingly, based on these uncontroverted

facts, the Court will deny Wrensford’s motion to exclude the buccal swab and finds that no

constitutional violation occurred in its collection. See United States v. Cloud, 2010 WL 2301537,

at *4 (D. Minn. Apr. 19, 2010) (“The signed Consent Form is evidence that the Defendant

voluntarily consented to the taking of the buccal swab.”); United States v. Kent, 2007 WL

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1098501, at *9 (E.D. Mo. Apr. 12, 2007) (finding that buccal swab was taken by consent and

therefore was admissible).

           G. Police Reports

       At the January 2014 suppression hearing, Wrensford argued that the police reports

contained in Government’s Exhibits 6a, 6b, 7, and 8 should be excluded as hearsay since counsel

was unable to cross-examine the declarants. 15 The Court conditionally admitted the exhibits over

Defendant’s objection and allowed counsel to submit briefing on this issue. Tr. 183.

       In his post-hearing brief, Wrensford states that he has “not found any substantive

holdings that illustrate or give specific guidance to the district court’s discretion to limit the

admission of evidence at pretrial hearings.” (Dkt. No. 81 at 8). While maintaining his objection

to the admissibility of the reports, Wrensford “concedes that the more important issue concerns

what weight, if any, should the Court place on the value of the information written in a police

report.” Id. Wrensford also withdrew his objections to the admissibility of the 911 Call History,

Exhibit 12. (Dkt. No. 81 at 9).

       It is well established that “[a]t a suppression hearing, the court may rely on hearsay and

other evidence, even though that evidence would not be admissible at trial.” United States v.

Raddatz, 447 U.S. 667, 679 (1980). In United States v. Williams, 574 F. Supp. 2d 530, 536 n.6

(W.D. Pa. 2008), the district court admitted a police report over a hearsay objection at a

suppression hearing, quoting Raddatz and citing United States v. Hubbard, 269 F. Supp. 2d 474,




15
  Exhibit 6a is page one of Det. Fieulleteau’s Supplementary Police Report, and Exhibit 6b is
page two of that report; Exhibit 7 is Fieulleteau’s police report following the interview with W2
in which W2 identified Wrensford as the shooter; and Exhibit 8 is the Miranda “Warning and
Consent to Speak” form.
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479 (D. Del. 2003) (admitting police reports during suppression hearing over objections based on

hearsay).

       Given Defendant’s concession that questions about the reliability of police reports go to

weight not admissibility, and case law that squarely permits their admission during a suppression

hearing, the Court denies Defendant’s motion to exclude Government Exhibits 6a, 6b, 7, and 8.

                                    III.   CONCLUSION

       For the reasons stated above, the Court grants in part and denies in part Defendant

Wrensford’s Motion to Suppress. (Dkt. No. 53). An appropriate Order accompanies this

Memorandum Opinion.

Date: August 11, 2014                               ________/s/________
                                                    WILMA A. LEWIS
                                                    Chief Judge




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